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                               UNITED STATES DISTRICT COURT
12                            CENTRAL DISTRICT OF CALIFORNIA
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14     NELSON H. ROMERO,                 )         NO. EDCV 21-1468-MWF (KS)
                    Plaintiff,           )
15                                       )
             v.                                    ORDER ACCEPTING INTERIM FINDINGS
16                                       )
                                         )         AND RECOMMENDATIONS OF UNITED
17     COUNTY OF SAN BERNARDINO, )                 STATES MAGISTRATE JUDGE
       et al,                            )
18
                        Defendants.      )
19     _________________________________ )
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21
22           Pursuant to 28 U.S.C. § 636, the Court has reviewed the First Amended Complaint, all
23     of the records herein, and the April 21, 2022 Report and Recommendation of United States
24     Magistrate Judge (“Report”). The time for filing Objections to the Report has passed, and no
25     Objections have been filed with the Court. Having completed its review, the Court accepts
26     the findings and recommendations set forth in the Report.
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1            Accordingly, IT IS ORDERED that: (1) the First Amended Complaint is dismissed with
2      leave to amend for failure to comply with Rule 8; (2) Judge Ronald M. Christianson, Judge
3      Donna Gunnell Garza, and Judge J. David Mazurek are dismissed with prejudice; (3)
4      Plaintiff’s Eighth Amendment claim is dismissed with prejudice; (4) Plaintiff’s Fourth
5      Amendment unlawful search claim as to the Elmwood Rd residence is dismissed with leave to
6      amend; (5) Plaintiff’s First Amendment claim is dismissed with prejudice; (6) Plaintiff’s claim
7      against the County of San Bernardino in its individual capacity is dismissed with prejudice;
8      and (7) Plaintiff’s claim against the County of San Bernardino in its official capacity is
9      dismissed with leave to amend.
10
11           If Plaintiff still wishes to pursue this action, he is granted twenty-one (21) days from the
12     date of this Order within which to file a Second Amended Complaint curing the defects
13     identified in the Report.
14
15           IT IS SO ORDERED.
16
17     DATED: June 24, 2022
18                                                        ____________________________________
19                                                             MICHAEL W. FITZGERALD
                                                            UNITED STATES DISTRICT JUDGE
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